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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION

                                    CASE NO. 23-80101-CR-CANNON


  UNITED STATES OF AMERICA,

            Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA

        Defendants.
  ________________________________/

                                SECOND SPEEDY TRIAL REPORT

            Pursuant to Local Rule 88.5 and the Court’s Omnibus Order Setting Trial Date and

  Establishing Pretrial Instructions and Sentencing Procedures (ECF No. 28), both of which require

  the filing of Speedy Trial Reports, the United States hereby files this Speedy Trial Report regarding

  the status of this case under the Speedy Trial Act of 1984, 18 U.S.C. § 3161 et seq (“Speedy Trial

  Act”).1

            In the First Speedy Trial Report, filed on July 11, the Government reported that five non-

  excludable days had elapsed under the Speedy Trial Act and 23 days had been tolled since June

  13, 2023, when Defendants Trump and Nauta first appeared before a judicial officer in the court

  in which the charges are pending. As of July 11, the Government’s Motion to Continue Trial was

  still pending. The Court disposed of that motion on July 21, thereby resulting in an additional ten


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    Counsel for Defendants Trump and Nauta have reviewed this filing and have authorized the Government to
  represent that they concur with the Speedy Trial Act calculations set forth herein. The Government provided a copy
  to counsel for Defendant De Oliveira. Counsel has yet to enter an appearance and accordingly did not take a
  position.
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  days of excludable time, for a total of 33 days of excludable time. However, on July 27, the grand

  jury returned a superseding indictment adding a new Defendant, Carlos De Oliveira. That restarted

  the Speedy Trial clock for all three Defendants. See Henderson v. United States, 476 U.S. 321,

  323 n.2 (1986) (“All defendants who are joined for trial generally fall within the speedy trial

  computation of the latest codefendant.”). See also United States v. King, 483 F.3d 969, 973 (9th

  Cir. 2007) (a superseding indictment adding a new defendant “restarts the STA clock for all

  defendants.”); United States v. Porchay, 651 F.3d 930 (8th Cir. 2011) (“When a newly indicted

  defendant is joined with a defendant whose speedy trial clock has already started running, the latter

  defendant’s speedy trial clock will be reset to that of the new defendant.” (quotations omitted));

  United States v. Van Smith, 530 F.3d 967, 972 (D.C. Cir. 2008) (“In view of this important

  policy”—i.e., ensuring that “the government will not be forced to choose between prosecuting

  defendants separately and violating the Speedy Trial Act”—“and the Supreme Court's

  straightforward application of this provision in Henderson, 476 U.S. at 323 n. 2, we hold that the

  addition of co-defendant Trent on October 29, 2004 restarted Smith’s speedy trial clock.”); United

  States v. Barnes, 251 F.3d 251, 258 (1st Cir. 2001) (“Resetting the clock upon the return of the

  superseding indictment synchronized the original defendant (Marla) with the newly-joined

  defendant (Reynaldo) for purposes of the STA.”); United States v. Gambino, 59 F.3d 353 (2d Cir.

  1995) (“[T]he speedy trial clock in cases involving multiple defendants begins with the running of

  the clock for the most recently added defendant.”).

         In its July 21 Order Granting in Part Government’s Motion to Continue Trial and Resetting

  Deadlines, the Court excluded all of the time between the date of that Order and the trial date of

  May 20, 2024, pursuant to 18 U.S.C. § 3161(h)(7)(A). If for any reason the Speedy Trial clock




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  begins to run after May 20, 2024, 70 days remain before a trial must begin.

                                              Respectfully submitted,

                                              JACK SMITH
                                              Special Counsel


                                       By:    /s/ Jay I. Bratt
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                                 CERTIFICATE OF SERVICE

        I, Jay I. Bratt, certify that on August 1, 2023, I electronically filed the foregoing document

  with the Clerk of Court using CM/ECF.


                                               /s/ Jay I. Bratt__________________
                                               Jay I. Bratt




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